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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF OKLAHOMA



 (1) DAVID and PEGGY BROCK,
 husband and wife,

                Plaintiffs,
                                                   Case No. _________________________
 vs.

 (1) ZURICH AMERICAN INSURANCE
 COMPANY, a foreign corporation,
                                                   Removed from District Court
                Defendants.                        for Oklahoma County
                                                   Case No. CJ-2007-528




                                  NOTICE OF REMOVAL

       COMES NOW the Defendant, Zurich American Insurance Company, and pursuant to 28

U.S.C. §§1441, 1446(a) and (b), hereby gives notice of removal of this action from the District

Court of Oklahoma County, State of Oklahoma, to the United States District Court for the

Western District of Oklahoma, based upon the following:

                                       JURISDICTION

       Removal jurisdiction based upon diversity of citizenship is founded on the following:

       1.      This lawsuit is a civil action within the meaning of the Acts of Congress relating

to removal of cases.

       2.      This case, styled David and Peggy Brock v. Zurich American Insurance Company,

was filed on January 19, 2007, in the District Court for Oklahoma County, Oklahoma, being civil

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action number CJ-2007-528 on the docket of that Court. (See Certified Copy of Docket Sheet

attached as Exhibit “A”).

       3.      The Defendant, Zurich American Insurance Co. was served with the Summons

and Petition on March 22, 2007, via the Oklahoma Insurance Department. (See Summons

Attached as Exhibit “B”).

       4.      This Notice of Removal is filed within thirty (30) days of service of the Petition

on this Defendant, and is timely under 28 U.S.C. § 1446(b).

       5.      Plaintiff, David Brock, states in connection with his work relationship with

Melton Truck Lines he purchased an occupational insurance policy offered by Zurich American

Insurance Company, which afforded him certain coverage as outlined in the subject policy of

insurance. On or about January 4, 2006, David Brock alleges an occupational accident occurred,

wherein, he suffered a head injury. Subsequently, on January 8, 2008, Mr. Brock alleges he

suffered a stroke related to this head injury. (See Petition, Paragraphs 7, 10 and 12, attached as

Exhibit “B”). Mr. Brock alleges Zurich American Insurance Company breached the policy of

insurance by failing to properly handle Mr. Brock’s claims and pay benefits as afforded under the

policy of insurance. (Exhibit “B”, generally). Peggy Brock appears to piggy back Mr. Brock’s

claim, although no policy of insurance exists between her and Defendant, and asserts an

Emotional Distress claim against Defendant. (Exhibit “B”, ¶¶ 20-21). Plaintiffs allege in their

Petition they are citizens of the State of Tennessee. (Exhibit “B”, ¶ 1).

       6.      Defendant, Zurich American Insurance Company. is, and was at the time of the

institution of this civil action, a foreign corporation with its principal place of business in the

State of Illinois. As a result, Zurich American Insurance Company is not now, and was not at the


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time of filing of the petition, a citizen and resident of the State of Oklahoma within the meaning

of the Acts of Congress relating to the removal of causes.

       7.      Jurisdiction of this action is based upon 28 U.S.C. §§ 1332, 1441, and 1446, as

amended.

       8.      The amount in controversy is believed to exceed the sum of Seventy-Five

Thousand and no/100 Dollars ($75,000.00), exclusive of interest and costs. In support of this

belief and in compliance with Laughlin v. Kmart Corp., 50 F.3d 871, 873 (10th Cir. 1995),

Defendant asserts as follows: Plaintiff, David Brock, in his Petition asserts Defendant failed to

pay benefits afforded him under the disability section and medical expense benefit sections of the

subject policy of insurance. (Exhibit “B”, ¶ 14). Further, Mr. Brock asserts he is unable to return

to work as a result of “a catastrophic stroke”. (Exhibit “B”, ¶¶ 12 and 15). Under the subject

Policy of Insurance, the “maximum” benefit payable for Temporary Total Disability was $500.00

per week for 104 weeks, or a total of $52,000. The “maximum” benefit payable for Continuous

Total Disability was $500.00 per week until age 70 with a “maximum” benefit of $200,000.00.

Mr. Brock was 42 years old at the time of the alleged incident. In addition, Peggy Brock, a

named Plaintiff, appears to have alleged an emotional distress claim in the Petition, seeking in

excess of $10,000 for damages related to the same. (Exhibit “B”, ¶ 22). Further, Plaintiff is

aware of approximately $42,000.00 in medical bills that Mr. Brock seeks to have paid under the

subject policy of insurance. Additionally, each Plaintiff seeks Punitive damages in excess of

$10,000, for a combined total of $20,000.00. (Exhibit “B”, ¶ 26). Thus, the combined total for

damages sought by Plaintiffs in their Petition, exclusive of interests and costs, appears to exceed

$75,000.00.


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       9.      Attached hereto and marked as Exhibit “B” is a true and correct copy of all

pleadings received by the Defendant, styled David Brock and Peggy Brock v. Zurich American

Insurance Company. Said documents constitute all pleadings filed and served on this Defendant

in said civil action designated in the District Court for Oklahoma County, Oklahoma. A certified

copy of the docket sheet is attached as Exhibit “A”.

       10.     A copy of this Notice of Removal has been filed with the Clerk of the District

Court of Oklahoma County, Oklahoma.

       WHEREFORE, removal of this action to the United States District Court is proper under

28 U.S.C. § 1441(a) and (b), because there is complete diversity of citizenship between the

Plaintiffs, David Brock and Peggy Brock, and the Defendant, Zurich American Insurance

Company, who is not a citizen of the state in which this action is proceeding.

                                             Respectfully submitted,

                                             PERRINE, MCGIVERN, REDEMANN, REID,
                                             BERRY & TAYLOR, P.L.L.C.

                                             /s/ David C. Senger
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                                             ZURICH AMERICAN INSURANCE COMPANY




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 23rd day of April, 2007, I electronically transmitted the
attached document to the Clerk of Court using the ECF System for filing and transmittal of a
Notice of Electronic Filing to the following ECF registrants and by U.S. Mail to:

Counsel for Plaintiff:
Phillip O. Watts
210 Park Avenue, Suite 1110
Oklahoma City, OK 73102



                                          /s/ David C. Senger
                                          William D. Perrine
                                          David C. Senger




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